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IN THE uNITED STATES DISTRICT coURT
FOR THE WESTERN DISTRICT OF TENNESSEE QSJUNIE PH|Z:|h
WESTERN DIVISION

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TONY X. CARRUTHERS,

Plaintiff,
vs. No. 05-2242-B/P
WARDEN DAVID MILLS, et al.,

Defendants.

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ORDER ASSESSING $250 FILING FEE
ORDER OF DISMISSAL
ORDER DENYING APPOINTMENT OF COUNSEL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff Tony X. Carruthers, Tennessee Department of
Correction prisoner number 139604, an inmate at the West Tennessee
State Penitentiary (“WTSP”)1 in Henning, Tennessee, filed a pro §§
complaint pursuant to 42 U.S.C. § 1983 on March 28, 2005, along
with motions seeking appointment of counsel and a temporary
restraining order and preliminary injunction. The Court issued an
order on April ll, 2005 directing the plaintiff, within thirty (30)
days, to comply with the Prison Litigation Reform Act of 1995

(“PLRA”), 28 U.S.C. § 1915(a)-(b), Or remit the full $250 civil

 

1 The word “prison” is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

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filing fee. Plaintiff submitted the required documentation on May
3, 2005. The Clerk shall record the defendants as WTSP Warden David
Mills, Captain Latham, Captain Charles Sweat, Sergeant Kenny Boyd,
Officer Michael Moore, and Officer Stanley Haislip.

I. Assessment of Filing Fee

Under the Prison Litigation Reform Act of 1995 (“PLRA”),
28 U.S.C. § 1915(b), all prisoners bringing a civil action must pay
the full filing fee of $250 required by 28 U.S.C. § l9l4(a).2 The
;p_fppmg pauperis statute, 28 U.S.C. § 1915(a), merely provides the
prisoner the opportunity to make a “downpayment” of a partial
filing fee and pay the remainder in installments.

In this case, plaintiff has properly completed and
submitted both an ip fp;ma pauperis affidavit and a trust fund
account statement. Pursuant to 28 U.S.C. § 1915(b)(l), it is
ORDERED that the plaintiff cooperate fully with prison officials in
carrying out this order. It is further ORDERED that the trust fund
officer at plaintiff’s prison shall calculate a partial initial
filing fee equal to twenty percent (20%) of the greater of the
average balance in or deposits to the plaintiff’s trust fund
account for the six months immediately preceding the completion of
the affidavit. When the account contains any funds, the trust fund
officer shall collect them and pay them directly to the Clerk of

Court. If the funds in plaintiff's account are insufficient to pay

 

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Effective March "I, 2005, the civil filing fee increased to $250 from

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the full amount of the initial partial filing fee, the prison
official is instructed to withdraw all of the funds in the
plaintiff's account and forward them to the Clerk of Court. On each
occasion that funds are subsequently credited to plaintiff's
account the prison official shall immediately withdraw those funds
and forward them to the Clerk of Court, until the initial partial
filing fee is paid in full.

It is further ORDERED that after the initial partial
filing fee is fully paid, the trust fund officer shall withdraw
from the plaintiff's account and pay to the Clerk of this Court
monthly payments equal to twenty percent (20%) of all deposits
credited to plaintiff's account during the preceding month, but
only when the amount in the account exceeds $10.00, until the
entire $250.00 filing fee is paid.

Each time that the trust fund officer makes a payment to
the Court as required by this order, he shall print a copy of the
prisoner's account statement showing all activity in the account
since the last payment under this order and file it with the Clerk
along with the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

and shall clearly identify plaintiff's name and the case number on

the first page of this order.

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If plaintiff is transferred to aa different prison or
released, she is ORDERED to notify the Court immediately of her
change of address. If still confined she shall provide the
officials at the new prison with a copy of this order.

If the plaintiff fails to abide by these or any other
requirement of this order, the Court may impose appropriate
sanctions, including a monetary fine, without any additional notice
or hearing by the Court.

The Clerk shall mail a copy of this order to the prison
official in charge of prison trust fund accounts at plaintiff's
prison. The Clerk is further ORDERED to forward a copy of this
order to the Director of the SCDC to ensure that the custodian of
the plaintiff’s inmate trust account complies with that portion of
the PLRA pertaining to the payment of filing fees.

The obligation to pay this filing fee shall continue
despite the immediate dismissal of this case. 28 U.S.C. §
1915(e)(2). The Clerk shall not issue process or serve any papers
in this case.

II. Analysis of Plaintiff's Claims

The plaintiff is a death row inmate who is currently
housed at the WTSP during the pendency of proceedings on his
postconviction petition in the Shelby County Criminal Court. The
complaint alleges that he has been held in administrative

segregation for nine years with only one hour each day for outside

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recreation. The plaintiff allegedly has not received any
disciplinary infraction since June of 2004, and he also asserts he
is not a security risk to state employees or inmates. The plaintiff
contends he arrived at the WTSP on January 28, 2005. Since that
time, the plaintiff has rarely been permitted his one-hour
recreation period, and the defendants have conspired to falsify
records to state that the plaintiff has refused. his exercise
period. According to the plaintiff, he has been allowed out of his
cell only six (6) of the forty-six (46) days he has been at the
WTSP.

The plaintiff seeks declaratory and injunctive relief and
compensatory and punitive damages.

The Sixth Circuit has held that 42 U.S.C. § 1997e{a)
requires a federal court to dismiss a complaint without prejudice
whenever a prisoner brings a prison conditions clain1 without
demonstrating that he has exhausted his administrative remedies.
Brown v. Toombs, 139 F.3d 1102 (6th Cir. 1998); ppg Porter v.
Nussle, 534 U.S. 516, 532 (2002) (“[T]he PLRA's exhaustion
requirement applies to all inmate suits about prison life, whether
they involve general circumstances or particular episodes, and
whether they allege excessive force or some other wrong.”); §pp;h
v. Churner, 532 U.S. 731 (2001) (prisoner seeking only nmney
damages must exhaust administrative remedies although damages are

unavailable through grievance system). This requirement places an

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affirmative burden on prisoners of pleading particular facts
demonstrating the complete exhaustion of claims. Knuckles El v.
Toombs, 215 F.3d 640, 642 (6th Cir. 2000). To comply with the
mandates of 42 U.S.C. § 1997e(a),

a prisoner must plead his claims with specificity and

show that they have been exhausted by attaching a copy of

the applicable administrative dispositions to the

complaint or, in the absence of written documentation,

describe with specificity the administrative proceeding
and its outcome.

ldp at 642; see also Boyd v. Corrections Corp. of Am., 380 F.3d
989, 985-96 (6th Cir. 2004) (describing the standard for
demonstrating exhaustion when prison officials fail to respond in
a timely manner to a grievance), cert. denied, 125 S. Ct. 1639
(2005); Baxter v. Rose, 305 F.3d 486 (6th Cir. 2002) (prisoner who
fails to allege exhaustion adequately may not amend his complaint
to avoid a ppg sponte dismissal); Curry v. Scott, 249 F.3d 493,
503-04 (6th Cir. 2001) (no abuse of discretion for district court
to dismiss for failure to exhaust when plaintiffs did not submit
documents showing complete exhaustion of their claims or otherwise
demonstrate exhaustion). Furthermore, § 1997(e) requires the
prisoner to exhaust his administrative remedies before filing suit
and, therefore, he cannot exhaust these remedies during the
pendency of the action. Freeman v. Francis, 196 F.3d 641, 645 (6th
Cir. 1999). Finally, the Sixth Circuit recently held that district
courts are required to dismiss a complaint in its entiretyr

pursuant to 42 U.S.C. § 1997e(a), that contains any unexhausted

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claims. Jones Bey v. Johnson, No. 03»2331, 2005 WL 1120283, at *3-
*6 (6th Cir. Apr. 21, 2005) (to be published in the Federal
Reporter).

In this case, Carruthers has not satisfied his burden of
demonstrating that he exhausted his administrative remedies. As a
preliminary matter, there is no indication that the plaintiff
attempted to exhaust his claim that he is unconstitutionally
confined in administrative segregation at the WTSP.3 With respect
to the denial of outside recreation, the complaint alleges that the
plaintiff filed an emergency grievance on March 10, 2005. He has
attached a copy of a grievance that he purportedly filed on March
10, 2005 against defendant Boyd concerning the denial of outside
recreation. Nothing on the face of that document indicates that it
was received by the appropriate grievance officer,4 and the
complaint is silent as to the resolution of the grievance. Instead,
in response to the question concerning the resolution of his
grievance, Carruthers stated “wanton disregard for a effective
resolution to a problem that is clearly and unambiguously illegal,

ar fsic] is clearly shown to be inadequate to prevent irreparable

 

3 The plaintiff has submitted a grievance he purportedly filed on March

7, 2004, while he was incarcerated at another facility, as well as a copy of a
complaint he filed in the United States District Court for the Eastern District
of Tennessee on November 12, 2004 concerning his protracted confinement in
administrative segregation. Given the relatively short duration of the
plaintiff's stay at the WTSP, it is conceivable that the plaintiff does not
intend to assert a claim concerning his placement in administrative segregation
but, instead, offers that information by way of background only.

4 Although the document includes a grievance number, that number, and
the date on which the grievance were supposedly received, are in the plaintiff's
distinctive handwriting.

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injury.” That general statement provides no specific information
that would permit the Court to verify that the grievance process
has been completed. Moreover, the other allegations in the
complaint concerning the grievance are insufficient to demonstrate
that the plaintiff properly exhausted his administrative remedies.
The facts that the inmate may have sent a copy of the grievance to
defendant Mills, that certain defendants attended a staff meeting
on March 10, 2005, and that plaintiff submitted information
requests or otherwise informally discussed the issue with various
prison officials, have no bearing on the plaintiff's exhaustion of
his administrative remedies.5 The complaint also alleges that the
plaintiff sent a copy of the grievance to defendant Latham, who is
described as an administrative captain, and that Latham failed to
respond. Even if it is assumed that Latham is the grievance
officer, TDOC policy provides that an inmate may proceed to the
next level of the grievance process if a response is not timely
received. §e§ TDOC, Administrative Policies and Procedures, Index
No. 501.01, ll Vl.C.l (“There will be a seven (7) working day time

limit at Level I, starting the day the grievance begins to be

 

5 The Sixth Circuit has repeatedly held that an inmate must strictly

follow the prison grievance procedures. Shephard v. Wilkinson, 2? Fed. Appx. 526,
527 (6th Cir. Dec. 5, 2001) (“While Shephard asserts that he has raised his
complaints in numerous letters to prison and public officials, a prisoner must
utilize the formal grievance process provided by the state; he cannot comply with
the requirements of § 1997e(a} by informally presenting his claims.”); Hewell v.
Leroux, 20 Fed. Appx. 375, 377 (6th Cir. Sept. 21, 2001) (same); see also Clark
v. Beebe, No. 98-1430, 1999 WL 993979, at *2 (6th Cir. Oct. 21, 1999) {district
Court erred in holding that prisoner had substantially complied with exhaustion
requirement by writing a letter to the U.S. Attorney's office that eventually
made its way to the warden of plaintiff's prison).

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processed.”), D (“If a time limit expires at any stage of the
process without the required response, the grievant may move the
grievance to the next stage of the process, unless the inmate
agrees in writing to a fixed extension of the time limit for
response.”) (May 1, 2004). Finally, the complaint contains no
indication that the plaintiff exhausted his claims against
defendants Mills, Latham, Sweat, Moore, and Haislip, as required by
Moorer v. Price, 83 Fed. Appx. 770, 772 (6th Cir. Dec. 9, 2003)
(plaintiff did not exhaust claim against warden because his
grievance did not identify the warden or articulate any claim
against her); Thomas v. Woolum, 337 F.3d 720, 733-34 (6th Cir.
2003); and §p;py, 249 F.3d at 504.

The Sixth Circuit has stated that “[a] plaintiff who
fails to allege exhaustion of administrative remedies through
‘particularized averments' does not state a claim on which relief
may be granted, and his complaint must be dismissed ppg §ppppp.”
Baxter, 305 F.3d at 489.6 Accordingly, the Court DISMISSES the
complaint in its entirety, without prejudice, pursuant to 42 U.S.C.
§ l997e(a). As the complaint is being dismissed, the motion for

appointment of counsel is DENIED.

 

5 As the Sixth Circuit explained, "If the plaintiff has exhausted his
administrative remedies, he may always refile his complaint and plead exhaustion
with sufficient detail to meet our heightened pleading requirement, assuming that
the relevant statute of limitations has not run." I_d_:_

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III. Appeal Issues

The next issue to be addressed is whether plaintiff
should be allowed to appeal this decision pp _fpppg_ pauperis.
Twenty-eight U.S.C. § l9l5(a){3) provides that an appeal may not be

taken ip forma pauperis if the trial court certifies in writing

 

that it is not taken in good faith.

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). An appeal is not taken in
good faith if the issue presented is frivolous. ldp_Accordingly, it
would be inconsistent for a district court to determine that a
complaint should be dismissed prior to service on the defendants,
yet has sufficient merit to support an appeal ip fppmg pauperis.
ee Williams v. Kullman, 722 F.2d 1048, 1050 n.l (2d Cir. 1983).
The same considerations that lead the Court to dismiss this case
for failure to state a claim also compel the conclusion that an
appeal would not be taken in good faith.

lt is therefore CERTIFIED, pursuant to 28 U.S.C. §
1915(a)(3), that any appeal in this matter by plaintiff is not
taken in good faith and plaintiff may not proceed on appeal ip
fp;ma pauperis.

The final matter to be addressed is the assessment of a

filing fee if plaintiff appeals the dismissal of this case.7 ln

 

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Effective November l, 2003, the fee for docketing an appeal is $250.
See Judicial Conference Schedule of Fees, l l, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a $5 fee:

(continued...)

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McGore v. Wriqqlesworth, 114 F.3d 601, 610-ll (6th Cir. 1997), the
Sixth Circuit set out specific procedures for implementing the
PLRA. Therefore, the plaintiff is instructed that if he wishes to
take advantage of the installment procedures for paying the
appellate filing fee, he must comply with the procedures set out in
McGore and § l915(b).

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IT Is so oRDERED this IW“ day of June, 2005.

 

. ANIEL BREEN \
UNI ED sTATEs DIsTRIcT JUDGE

 

(...continued)
Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CV-02242 Was distributed by fax, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

Tony Von Carruthers

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139604

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P.O. Box l 150

Henning, TN 38041

Honorable J. Breen
US DISTRICT COURT

